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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

H-D U.S.A., LLC,
                                                   Case No. 19-cv-02710
               Plaintiff,
                                                   Judge Sharon Johnson Coleman
v.
                                                   Magistrate Judge M. David Weisman
HAPPYMOTO, et al.,
               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure Plaintiff H-D U.S.A.,

LLC (“Harley-Davidson” or “Plaintiff”) hereby dismisses this action, with leave to reinstate

within one hundred and eighty (180) days, as to the following Defendants:

                Defendant Name                                        Line No.
                   GTKK-888                                              57
                 shenyunvape-5                                          100
                   szrsm-001                                            108


Dated this 9th day of July 2019.            Respectfully submitted,

                                            /s/ RiKaleigh C. Johnson
                                            Amy C. Ziegler
                                            Justin R. Gaudio
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